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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JASON GALLOWAY, Individually and on
 behalf of others similarly situated,

        Plaintiffs,
                                                        Case No. 19-cv-264 JPG/RJD
                v.

 MARATHON FINANCIAL INSURANCE
 COMPANY, INC.,

        Defendant.

                                           ORDER

       This undersigned judge hereby TRANSFERS this case to the Clerk of the Court for

reassignment. Through random draw, the Clerk of Court has reassigned this matter to United

States District Judge Nancy J. Rosenstengel. All future pleadings shall bear Case No. 19-cv-264

NJR/RJD.


IT IS SO ORDERED.
DATED: March 6, 2019
                                            s/ J. Phil Gilbert
                                            J. PHIL GILBERT
                                            U.S. DISTRICT JUDGE
